                     Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 1 of 10




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 5
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 6   Jewish Legal News, Inc.
 7
                                         UNITED STATES DISTRICT COURT
 8
                                     NORTHERN DISTRICT OF CALIFORNIA
 9                                          SAN FRANCISCO DIVISION
10
11   JEWISH LEGAL NEWS, INC.,                                  Case No.: [Case No.]
12                          Plaintiff,                         COMPLAINT
13              v.

14   FEDERAL AVIATION ADMINISTRATION,

15                         Defendant.

16             Jewish Legal News, Inc. (“JLN” or “Plaintiff”), by and through its undersigned counsel, alleges
17   as follows:
18
               1.     This is an action under the Freedom of Information Act (“FOIA” or the “Act”), 5 U.S.C.
19
     § 552, for declaratory, injunctive, and other appropriate relief by the JLN against the Federal Aviation
20
     Administration, (“FAA” or “Defendant”).
21
22             2.     JLN is an online news magazine located at www.jewishlegalnews.com that covers

23   important debates and issues in the Jewish communities in the US, Israel, and worldwide. Through

24   public records requests, JLN seeks to inform the public about the government’s responses to these
25   issues.
26
27
28
     COMPLAINT                                             1                                       [Case No.]
                      Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 2 of 10




 1              3.     By this action, JLN seeks to compel FAA to comply with their lawful obligations under

 2   FOIA to release the requested records in their possession regarding their instructions to U.S. airlines
 3   regarding flying to Israel, since American carriers have ceased flying to Israel for an extended period.
 4
                4.     However, Defendant improperly withheld the records requested by Plaintiff in violation
 5
     of FOIA and in opposition to the public’s strong interest in obtaining information regarding FAA’s
 6
     efforts to discourage and/or encourage American carriers’ flights to fly to Israel.
 7
 8              5.     JLN’s request is related to the FAA’s response to Hamas’ attack on Israeli civilians on

 9   October 7, 2023.

10              6.     After October 7, 2023, FAA urged airlines to “use caution,” but did not suspend flights to
11   Israel.1
12
                7.     However, American carriers have issued several rounds of “suspensions” of service to
13
     Israel, lasting into 2025.
14
                8.     On September 4, 2024, U.S. Rep. Marc Molinaro (NY-19), a member of the House
15
16   Transportation and Infrastructure Committee, sent a letter to the FAA asking why there is such a lack of

17   flights to Israel.2

18              9.     Plaintiff requested under FOIA records related to determine how the FAA was
19   communicating with American carriers regarding service to Israel.
20
                10.    However, FAA failed to respond to Plaintiff’s FOIA request.
21
22
23
24   1
       Gaffney, Melissa, and Amanda Maile. “Hamas Attack in Israel: State Department Issues Level 3
     Advisory for Travel to Israel.” ABC News, 12 Oct. 2023, https://abcnews.go.com/International/hamas-
25
     attacks-israel-airlines-suspended-flights-travel-advisory/story?id=103817646. Accessed 30 Oct. 2024.
26   2
      Molinaro, Marc. “Rep. Molinaro Calls On FAA To Resume American Flights To Israel.”
     Congressman Marc Molinaro, 4 Sept. 2024,
27   https://molinaro.house.gov/news/documentsingle.aspx?DocumentID=3350. Accessed 30 Oct. 2024.
28
     COMPLAINT                                             2                                        [Case No.]
                   Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 3 of 10




 1          11.     Federal Courts have jurisdiction to enjoin a pattern or practice of unlawfully withholding

 2   or delaying information in response to FOIA requests even if a party’s claim related to a specific FOIA
 3   request is mooted. See, e.g., Hajro v. United States Citizenship & Immigration Servs., 811 F.3d 1086,
 4
     1103 (9th Cir. 2016).
 5
            12.     Plaintiff is statutorily entitled to disclosure of these requested records, which it seeks so
 6
     that it may inform the public about this important issue on an expedited basis.
 7
 8                                        JURISDICTION AND VENUE
            13.     This Court has subject matter jurisdiction over this action and personal jurisdiction over
 9
10   Defendant pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

11          14.     Venue is proper in this district under 5 U.S.C. § 552(a)(4)(B).

12                                        DIVISIONAL ASSIGNMENT
13          15.     Pursuant to Civil L.R. 3-2(c) and 3-5(b), this action should be assigned under Civil L.R.
14
     3-2(c) and (d) to the San Francisco / Oakland division because the action arose in San Mateo County,
15
     California.
16
                                                      PARTIES
17
            16.     Plaintiff Jewish Legal News, Inc. is a nonprofit California corporation located at 3 East
18
     3rd Ave., Ste. 200, San Mateo, CA 94401.
19
20          17.     Defendant Federal Aviation Administration (“FAA”) is an agency of the federal

21   government within the meaning of 5 U.S.C. § 551, 5 U.S.C. § 552(f), and 5 U.S.C. § 702, which has

22   possession, custody, and/or control of the records that Plaintiff seeks.
23          18.     The headquarters of FAA is located at 800 Independence Avenue SW, Room 300 East
24
     Washington, DC 20591.
25
26
27
28
     COMPLAINT                                             3                                          [Case No.]
                      Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 4 of 10




 1                                           FACTUAL ALLEGATIONS

 2                                                    Background
                19.    On October 7, 2023, before dawn on a holiday, Hamas forces disabled Israel’s defenses
 3
 4   and launched a surprise multi-pronged offensive attack on Israel.

 5              20.    Hamas forces murdered as many as fourteen hundred (1400) people and took nearly two

 6   hundred fifty (250) hostages.
 7              21.     On October 8, 2023, the FAA urged U.S. airlines to “exercise extreme caution” when
 8
     flying in Israeli airspace in an updated Notice to Air Missions (NOTAM).
 9
                22.    The FAA did not officially issue any warning that service to Israel should be suspended.
10
                23.    As a precaution, the three largest U.S. airlines suspended service temporarily.
11
12              24.    But “temporary” suspensions have been extended into the long term. A “second round”

13   of suspensions occurred in August 2024 because of Iranian and Hezbollah Threats.

14              25.    The cancellations have rewarded terrorist groups and isolated Israel. Israel to the United
15   States is only served by a single carrier.
16
                26.    Many Americans have been affected by these long-term suspensions and cancellations of
17
     flights.
18
                27.    For instance, one traveler explains: “I am one of the many people affected recently by
19
20   these cancellations. I bought tickets on a major US airline in the spring to fly to the US on August 2. The

21   airline canceled the flight around 36 hours before because of “unrest” in the Middle East…When my

22   family’s flight was canceled in early August, we were not provided with a solution by the airline.
23   Instead, we had to scramble to find an Israeli carrier that would fly us to Athens. Then, we had to stay
24
25
26
27
28
     COMPLAINT                                              4                                         [Case No.]
                  Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 5 of 10




 1   overnight in Athens and board a German airline that flew us via Munich to Newark. In essence we

 2   ended up spending more than $10,000 dollars on new tickets and a hotel.” 3
 3          28.     Regarding a San Francisco family of four, just six (6) hours prior to their flight, United
 4
     cancelled a confirmed trip from San Francisco to Tel Aviv, and refused to rebook the nonstop flight for
 5
     any date whatsoever, stating in an email that United does not know when they will resume service:
 6
                    United made a schedule change and suspended service to TLV in light of the
 7                  unsettled international conditions in that region. The three options that we
 8                  provided to you were based on Rule 24 of United's Contract of Carriage. Your
                    request to be repeatedly rebooked on flights to TLV until service is resumed at
 9                  some unidentifiable point in the future is beyond the scope of our Contract of
                    Carriage, and unfortunately it is not a request that we are able to accommodate.
10
                    It appears that you were provided automatic refunds …We are hopeful that
11                  conditions will improve, and that you will soon be able to complete your desired
12                  trip to TLV so that your children can spent time with their extended family
                    members.
13
            29.     American carriers’ policies are purportedly geared towards security, but the security
14
     situation on the ground does not justify the flight suspensions. Israel’s air defenses are better than they
15
16   have been in any previous era. Israel’s Arrow air defense system and David’s Sling have proved

17   themselves in this war. The US has also helped bolster Israel’s defenses.

18          30.     Yet, despite more support and better systems, international airlines are canceling flights
19   anyway. This didn’t happen in previous wars. Israel fought Hezbollah in 2006 and Hamas in 2009, 2012,
20
     and 2014, and also short rounds in 2018 and 2021, and there were no long-term massive cancellations.
21
22
23
24
25
26   3
      See Frantzman, Seth J. “Airline Flight Cancellation Chaos to Israel Is Unsustainable - Analysis.” The
     Jerusalem Post, 29 Aug. 2024, www.jpost.com/israel-hamas-war/article-816925 (last visited October
27   31, 2024).
28
     COMPLAINT                                             5                                         [Case No.]
                    Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 6 of 10




 1            31.    On August 28, 2024, Democratic Rep. Ritchie Torres (N.Y.) published a letter criticizing

 2   three major U.S. airlines for the continued suspension of flights to Israel, stating it is “effectively
 3   boycotting” the country.4
 4
              32.    In a letter to the CEOs of American, Delta and United Airlines, Torres said the
 5
     “prolonged” suspension of the airlines’ flights to Israel has made air travel to Israel less accessible and
 6
     more expensive.
 7
 8            33.    “The lack of competition has made air travel to Israel less available and less affordable,

 9   putting customers at the mercy of a de facto monopoly that can easily gouge prices with impunity,”

10   Torres wrote to American Airlines CEO Robert Isom, Delta CEO Ed Bastian and United CEO Scott
11   Kirby.
12
              34.    Torres noted the FAA has not issued a travel ban to Israel since the Oct. 7 attacks, as it
13
     did in 2014 for 36 hours for U.S. carriers traveling to Tel Aviv’s Ben Gurion Airport. 5
14
              35.    “It is one thing to temporarily suspend air travel to Israel on security grounds as defined
15
16   by the FAA. But to unilaterally suspend air travel indefinitely until mid-2025, as American Airlines has

17   done, has the practical effect of a boycott,” he wrote.

18            36.    “By what logic and in what universe is it safe for El Al to travel to Israel but too
19   dangerous for American Airlines, Delta, and United to do so? It is worth noting that UAE airlines like
20
     Etihad, FlyDubai, and Wizz Air Abu Dhabi continue to fly to Israel without incident,” he wrote.
21
              37.    El Al is an Israeli airline that has continued to offer direct flights from America to Israel.
22
23
24   4
       See Nazzaro, Miranda. “House Democrat Urges US Airlines to Restore Israel Flights.” The Hill, 28
     Aug. 2024, www.thehill.com/homenews/house/4852737-house-democrat-urges-us-airlines-restore-
25
     israel-flights/ (last visited October 31, 2024).
26   5
      Jacobs, Emily. “Rep. Torres Accuses U.S. Airlines of ‘Effectively Boycotting’ Israel.” Jewish Insider,
     28 Aug. 2024, https://jewishinsider.com/2024/08/rep-torres-accuses-u-s-airlines-of-practically-
27   boycotting-israel/ (last visited October 31, 2024).
28
     COMPLAINT                                              6                                          [Case No.]
                    Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 7 of 10




 1            38.    Molinaro noted the frustration of his constituents, many of whom had flights to Tel Aviv

 2   canceled with no clear timeline for resumption. He highlighted that non-U.S. airlines continue to fly into
 3   Israel without issue, while American carriers remain grounded. “Ben Gurion Airport in Tel Aviv is
 4
     considered one of the safest airports in the world,” Molinaro said.
 5
              39.    The congressman also pointed out that the FAA’s last warning regarding Israeli airspace
 6
     was issued in October 2023, following Hamas’ attack on Israel.
 7
 8            40.    On September 16, 2024, Rep. Molinaro said he had not yet heard any response to the

 9   letter he sent to the FAA,6 which set a deadline of Sept. 6, 2024.

10            41.    “With no answers and Jewish travelers left in limbo, there’s a growing perception that the
11   FAA and DOT are getting involved in anti-Israel politics. They fear this is a boycott,” Molinaro said in a
12
     statement.
13
              42.    The flight suspensions were extended after Iran launched missile attacks on Israel in
14
     April.
15
16            43.    As of October 2024, Delta and American extended their suspensions to March 2025.

17            44.    United Airlines’ suspension is the most severe. United says its suspension is for the

18   “foreseeable future and plans to resume them when it is safe for its customers and crew.” 7
19
20
21
22
23
24   6
       See Jacobs, Emily. “FAA Failing to Respond to Rep. Molinaro’s Inquiry over Suspension of Flights to
     Israel.” Jewish Insider, 16 Sept. 2024, https://jewishinsider.com/2024/09/federal-aviation-
25
     administration-rep-marc-molinaro-flights-israel/. Accessed 30 Oct. 2024.
26   7
      See “United Airlines Flights to Tel Aviv Remain Suspended.” The Times of Israel, August 8, 2024,
     https://www.timesofisrael.com/liveblog_entry/united-airlines-flights-to-tel-aviv-remain-suspended/.
27   Accessed 30 Oct. 2024.
28
     COMPLAINT                                            7                                        [Case No.]
                    Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 8 of 10




 1          45.      United cancelled all Tel Aviv service for the remainder of its published schedule (through

 2   July 2025), including service to/from Chicago, San Francisco, and Washington-Dulles which were set to
 3   restart in November.8
 4
                                             Plaintiff’s FOIA Request
 5
            46.      On September 16, 2024, attorney Mark L. Javitch, on behalf of JLN, submitted a FOIA
 6
     request to FAA via the online FOIA portal (“the portal”). The requests included:
 7
 8                1. Documents reflecting any instruction by the FAA to suspend or discourage flights
                     to Israel.
 9                2. Documents reflecting correspondence between the FAA and U.S. based airlines
                     about the safety of flying into Israel in the past 12 months.
10                3. Documents reflecting correspondence between the FAA and the International
                     Civil Aviation Organization about flights into Israel in the past twelve months.
11
12                   See Exhibit “A”

13                             Defendant’s Treatment of Plaintiff’s FOIA Request

14          47.      It appears that Plaintiff’s submission was successful because Plaintiff was able to access

15   a copy of the request through FAA’s FOIA Portal. See Exhibit “A.”
16          48.      On September 21, 2024, FAA sent a letter acknowledging receipt and assigning the
17
     request to the “FOIA Program Management Office” and assigning it tracking number 2024-07609. See
18
     Exhibit “B.”
19
            49.      As of the filing of this Complaint, it has been more than 20 (twenty) working days since
20
21   JLN’s Request was submitted and acknowledged. Defendant failed to inform Plaintiff when it will

22   process its request.

23
24
25
26   8
      See Backman, Melvin. “United Airlines Is Halting Flights to Israel as the Threat of War with Iran
     Looms.” Quartz, 13 Aug. 2024, https://qz.com/united-israel-iran-palestine-hamas-hezbollah-war-
27   1851621242. Accessed 30 Oct. 2024.
28
     COMPLAINT                                            8                                        [Case No.]
                   Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 9 of 10




 1           50.     No further information or communication concerning the Request has been received or

 2   sent by Plaintiff.
 3           51.     As of the date of this filing, Defendant failed to:
 4
                     a. Make a determination regarding Plaintiff’s request;
 5
                     b. produce the requested records or demonstrate that the requested records are lawfully
 6
                           exempt from production;
 7
 8                   c. notify Plaintiff of the scope of any responsive records Defendant intends to produce

 9                         or withhold and the reasons for any withholdings; or

10                   d. inform Plaintiff that it may appeal any adequately specific adverse determination.
11                                              CAUSE OF ACTION
12                        Violation of FOIA for Failure to Comply with Statutory Deadlines
13           52.     Plaintiff incorporates the foregoing paragraphs herein.
14           53.     Defendant is an agency subject to FOIA.
15
             54.     Plaintiff submitted a request. Through the Request, Plaintiff properly asked for records
16
     within the possession, custody and/or control of Defendant.
17
             55.     Defendant failed to make a determination with respect to Plaintiff’s Request within the
18
19   20-working day deadline required by FOIA. 5 U.S.C. § 552(a)(6)(A).

20           56.     Defendant did not claim that unusual circumstances existed that warranted additional

21   time needed.
22           57.     Defendant also failed to specify any date that the request would be completed.
23
             58.     Plaintiff has and/or is deemed to have exhausted applicable administrative remedies with
24
     respect to the Request. 5 U.S.C. § 552(a)(6)(A); id. § 552(a)(6)(C).
25
                                              REQUEST FOR RELIEF
26
27           WHEREFORE, Plaintiff respectfully requests that this Court:

28
     COMPLAINT                                              9                                      [Case No.]
             Case 3:24-cv-07565 Document 1 Filed 10/31/24 Page 10 of 10




 1               1) order Defendant to conduct a reasonable search for all records responsive to

 2                  Plaintiff’s Request, and to immediately disclose all non-exempt records responsive to
 3                  the Request in their entirety, as well as all non-exempt portions of responsive records;
 4
                 2) declare that Plaintiff is entitled to disclosure of the records responsive to the Request;
 5
                 3) enjoin Defendant from continuing to withhold all non-exempt records or portions
 6
                    thereof responsive to Plaintiff’s Request;
 7
 8               4) award Plaintiff reasonable attorney’s fees and costs reasonably incurred in this action

 9                  pursuant to 5 U.S.C. § 552(a)(4)(E); and

10               5) grant such other relief as the Court may deem just and proper.
11       Dated: October 31, 2024                        Respectfully submitted,
12
13                                                 By: /s/ Mark L. Javitch
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     COMPLAINT                                        10                                         [Case No.]
